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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

___________________________________
                                    )
                                    )
KAREN READ,                         )
            Petitioner              )
                                    )
v.                                  )                               No. 25-CV-10399-FDS
                                    )
NORFOLK COUNTY SUPERIOR             )
COURT, MASSACHUSETTS                )
ATTORNEY GENERAL,                   )
            Respondents             )
                                    )
___________________________________ )

                           PETITIONER’S NOTICE OF APPEAL

       Now comes the Petitioner Karen Read, by and through undersigned counsel, and hereby

notices her appeal to the United States Court of Appeals for the First Circuit from the March 13,

2025 Order denying her petition for writ of habeas corpus in the above-captioned case.1


                                                     Respectfully Submitted,
                                                     KAREN READ
                                                     By Her Attorneys,

                                                     /s/ Martin G. Weinberg
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1
 While not clearly required to appeal from the denial of this petition under 28 U.S.C. § 2241, see
Gonzalez v. Justices of Mun. Court of Bos., 382 F.3d 1, 6 (1st Cir. 2004), vacated on other
grounds and subsequently reinstated, 420 F.3d 5, the District Court sua sponte granted a
certificate of appealability finding that Petitioner made a “substantial showing of the denial of a
constitutional right as to all claims.” Dkt. 28 at 2 (citation omitted).
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Dated: March 13, 2025




                                CERTIFICATE OF SERVICE

        I, Martin G. Weinberg, hereby certify that on this date, March 13, 2025, a copy of the
foregoing document has been served via Electronic Court Filing system on all registered
participants.

                                                     /s/ Martin G. Weinberg
                                                     Martin G. Weinberg, Esq.




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